            Case 8:04-cr-00235-DKC Document 1600 Filed 01/22/13 Page 1 of 5
                                                                ~-I'
                                                              ,,!,~L....ED
TRULINCS 38360037 - DOBIE, LAVON - Unit: HAl-J-B     IJc-
                                                             OIJ IPIC~ r'n
                                                                  \.J
                                                  DfC:Tr~lr'T J f,,:2
                                                                   If'
                                                                       , ...1 I/. ,-,,,URT
-------------------------------------------------------------------------~----~-~~7~7!---------------------
                                                                l..,j   ",   oJ   1'•   "')\/1   ..I.




FROM: 38360037                                                  rlJ vl-:i~22
                                                                _u.  lHI
                                                                             p I: Ib
TO:
SUBJECT: MEMORANDUM       INFORMAL BRIEF'
                            I


DATE: 01/16/201306:14:18 PM

NO.12-8052,    US v. La ' Von Dobie
              8: 04-cr-00235

Re: Informal Brief

   ON NOVEMBER 2,2011 THE FOURTH COURT OF APPEALS VACATED/REMANDED THE DEFENDANTS COUNT 1,
CONVICTION BACK TO THE SENTENCING COURT[WITH INSTRUCTIONS]. ON NOVEMBER 20,2012 THE US DISTRICT
COURT OF GREENBELT MARYLAND, RESENTENCED THE DEFENDANT. HONORABLE JUDGE TITUS, REDUCED THE
DEFENDANTS SENTENCE SIGNIFICANTLY AND STATED: I DON'T THINK I HAVE THE DISCRETION TO GO BELOW
THE GUIDELINES. DUE TO THE JUDGES STATEMENT IT .IS REASONABLE TO ASSUME OR BELIEVE; HAD THE
JUDGE KNOWN HE INDEED HAS THE DISCRETION TO SENTENCE A DEFENDANT BELOW OR ABOVE THE
GUIDELINES [WITH RATIONAL] THIS DEFENDANT POSSIBLY WOULD HAVE RECEIVED A SIGNIFICANTLY GREATER
REDUCTION.
. ~              Case 8:04-cr-00235-DKC Document 1600 Filed 01/22/13 Page 2 of 5
TRULINCS 38360037 - DOBIE, LAVON - Unit: HAZ-J-B
 -----------------------------------------------------------------------------------------------------------
FROM: 38360037
TO:
SUBJECT: ISSUES, SUPPORTING FACTS/ARGUMENT
DATE: 01/16/2013 06:38:12 PM

ISSUE 1.

 HONORABLE JUDGE TITUS STATED: ' I DON'T THINK I HAVE THE DISCRETION TO GO BELOW THE GUIDELINES
THEREFORE I WILL RESENTENCE YOU TO ,THE LOW END OF THE GUIDELINES ..

SUPPORTING     FACTS/ARGUMENTS:

ACCORDING TO JASON PEPPER vs. US[CASE B# 09-6822] THE JUDGE INDEED HAS THE DISCRETION TO GO BELOW
THE GUIDELINES WHEN RESENTENCING. IT IS REASONABLE TO ASSUME THE JUDGE WOULD HAVE POSSIBLY
RESENTENCED THE DEFENDANT TO A LOWER SENTENCE BY HIS STATEMENT.THE JUDGE COMMENDED THE
DEFENDANT ON THE PROGRESS SHE HAD MADE AND HER EXEMPLARY PROGRAMMING. THE DEFENDANT
EXCEEDED THE COURTS INITIAL STATED REASONS, RATIONAL AS WELL AS THE CRITERIA STATED FOR
IMPOSING HER ORIGINAL SENTENCE OF 206 MONTHS.

ISSUE 2.

AT THE TIME OF DEFENDANTS RESENTENCING CONVICTIONS THAT WERE TEN (10) YEARS OLD AND NOT CRIMES
OF RELEVANCE ,CAUSED THE DEFENDANT TO REMAIN IN A CRIMINAL HISTORY CATEGORY OF V .THE
PRESENTENCE REPORT WAS NOT REVISED.

SUPPORTING     FACTS/ARGUMENTS:

NO CRIME OLDER THAN TEN YEARS ,THAT IS NOT A CRIME OF RELEVANCE SHOULD BE USED TO ENHANCE A
DEFENDANTS SENTENCE. DEFENDANT WAS INITIALLY ARRESTED ON JUNE 1, 2004 [A ROBBERY CHARGE OUT OF
MONTGOMERY COUNTY, MARYLAND FROM 1992/THEFT RELATED CHARGES/CREDIT CARD FRAUD CHARGES OUT
OF PRINCE GEORGES ,MARYLAND .REMAINED APART OF THE CALCULATION TO DETERMINE THE GUIDELINE
RANGE AT RESENTENCING. THIS INJUSTICE CAUSED THE DEFENDANT HARM AND TO BE SENTENCED HARSHER
HAD THE PRIOR CONVICTIONS BEEN DEDUCTED.
                 Case 8:04-cr-00235-DKC Document 1600 Filed 01/22/13 Page 3 of 5
TRULINCS 38360037 - DOBIE, LAVON - Unit: HAl-J-B


FROM: 38360037
TO:
SUBJECT: ISSUES, SUPPORTING FACTS/ARGUMENTS   CO NT.
DATE: 01/16/2013 08:13:29 PM

ISSUE 3.

THE DEFENDANT RECEIVED AN ADDITIONAL TWO(2) POINTS FOR OBSTRUCTION OF JUSTICE. IN WHICH CAUSED
DEFENDANTS OFFENSE LEVEL TO INCREASE; DEMANDING A HARSHER SENTENCE BE IMPOSED.

SUPPORTING   FACTS AND ARGUMENTS:

A DEFENDANT SHOULD NOT BE FOUND GUILTY OR PUNISHED FOR ANY CRIME NOT PRESENTED TO THE JURY OR
NOT LISTED IN THE INDICTMENTS. THE DEFENDANT WAS NOT IMPEACHED OR CHARGED WITH PURJURY AT
TRIAL. THE DEFENDANT TESTIMONY CONTRADICTED THE GOVERNMENTS THEORY. NONETHELESS THE
DEFENDANT SHOULD HAVE NOT RECEIVED ANY ADDITIONAL POINTS FOR OBSTRUCTION OF JUSTICE. THE LAW
STATES: IF THE JURORS DID NOT FIND THE DEFENDANT GUILTY OF A CHARGES [ONE CANNOT LATER BE FOUND
GUILTY OF THE CRIME ,IN WHICH THEY HAVE NOT BEEN INDICTED NOR CHARGED WITH COMMITIING. THERFORE
THE ADDITIONAL TWO POINTS FOR OBSTRUCTION OF JUSTICE SHOULD BE REMOVED.

ISSUE4.

ON THE COUNT1. CONVICTION THE DEFENDANT WAS RESENTENCED UNDER THE CHAPTER V GUIDELINE RANGE
AT A LEVEL 26. DUE TO THE OBSTRUCTION OF JUSTICE ENHANCMENT. THE DEFENDANT OFFENSE LEVEL
SHOULD HAVE INITIALLY BEEN 26 AND NOT 28.

SUPPORTING   FACTS AND ARGUMENTS:

THE LAW STATES THE CHAPTER V MANDATORY GUIDELINE IS A CRIMINAL HISTORY OF V AND OFFENSE LEVEL OF
28. THE DEFENDANT RECEIVED A TWO POINT REDUCTION FOR A MINOR ROLE, AT RESENTENCING. IF THE
CRITERIA FOR THE CHAPTER V MANDATORY SENTENCE OF 132-162 MONTHS IS CONTINGIENT ON ONE HAVING A
CRIMINAL CATEGORY OF V AND AN OFFENSE LEVEL OF 28 [THE DEFENDANT NO LONGER MET THE CRITERIA AT
THE TIME OF HER RESENTENCING. THE TWO POINT REDUCTION GRANTED BY HONORABLE JUDGE TITUS LEFT
THE DEFENDANT WITH AN OFFENSE LEVEL OF 26 NOT 28. THE JUDGE ASKED THE GOVERNMENT IF THIS WAS A
CHAPTER V . THE INITIAL PRESENTENCE REPORT RECOMMENDED THE DEFENDANT BE SENTENCE TO FIVE
YEARS UNDER THE STATUATORY PROVISION OF FIVE YEARS TO FORTY YEARS. THE OBSTRUCTION OF JUSTICE
ENHANCEMNET CAUSED THE DEFENDANT TO BECOME A LEVEL 28 ,OPPOSE TO ANY CRIMES SHE WAS            I
CHARGED WITH AND FOUND GUILTY OF COMMITIING AS REQUIRED BY LAW.
                 Case 8:04-cr-00235-DKC Document 1600 Filed 01/22/13 Page 4 of 5
TRULINCS 38360037 - DOBIE, LAVON - Unit: HAl-J-B

 -                        - -   -
FROM: 38360037
TO:
SUBJECT: RELIEF REQUESTED
DATE: 01/16/2013 08:12:37 PM

4. RELIEF REQUESTED

DEFENDANT RESPECTFULLY REQUEST THIS HONORABLE COURT TO VACATE AND REMAND THE CASE BACK TO
SENTENCING DISTRICT COURT WITH INSTRUCTIONS FOR RESENTENCING. THE OBSTRUCTION OF JUSTICE
ENHANCMENT BE VACATED. DEFENDANT SEEKS TO BE RESENTENCED UNDER THE STAUATORY PROVISION
INITIALLY RECOMMENDED BY THE PROBATION OFFICE.CORRECTING THE ERROR MADE BY THE SENTENCING
COURT WHEN THE OBSTRUCTION OF JUSTICE TWO POINT ENHANCEMNET WAS APPLIED /CALCULATED IN THE
SENTENCING OF THE SAID DEFENDANT. THE DEFENDANT DESIRES TO BE RESENTENCED UNDER THE
CONSTITUTIONAL LAWS APPLICABLE ALLOWING THE JUDGE TO USE DISCRETION WHEN RESENTENCING AND
NOT BE BINDED BY ANY GUIDELINES.

5. PRIOR APPEALS

A. DEFENDANT APPEALED THE INITIAL CONVICTION[ CASE # RWT-04-0235]

B. THIS HONORABLE COURT VACATED IN PART AND REMANDED     I   DOBIE'S   I   COUNT 1. CONVICTION   BACK TO THE
DISTRICT CO . R  OR RESENTENCING.




LA VON DOBIE #38360-037
     I


SFF-HAZ [J2-121-L]
P.O.BOX 3000
BRUCETON MILLS,WV 26525
                 Case 8:04-cr-00235-DKC Document 1600 Filed 01/22/13 Page 5 of 5
TRULINCS 38360037 - DOBIE, LAVON - Unit: HAZ-J-B
-----------------------------------------------------------------------------------------------------------
FROM: 38360037
TO:
SUBJECT: certificate of service
DATE: 01/16/2013 5:53:23 PM

I certify tha~        .      zt) :3   i served a completer-copy of this informal brief on all parties ,addresses as shown below.

U.S. COJR1 OF APPEALS ,FOURTH CIRCUIT
U.S. COURTHOUSE ANNEX
RICHMOND,VA23219

UNITED STATES ATTORNEY OFFICE [GREENBELT, MARYLAND]
6500 CHERRY WOOD LANE
GREENBEL T,MD. 20770

HONORABLE JUDGE TITUS
6500 CHERRY WOOD LANE
GREENBEL 1J1D.   '5  77.°0

d~~-
